  Case 21-03020-sgj Doc 47 Filed 04/30/21                    Entered 04/30/21 10:00:37              Page 1 of 9




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 Counsel for UBS Securities LLC and UBS
 AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-SGJ11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020-sgj
                                    Plaintiffs,              §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 Case 21-03020-sgj Doc 47 Filed 04/30/21            Entered 04/30/21 10:00:37         Page 2 of 9




                                  NOTICE OF DEPOSITION

       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure made applicable to this proceeding by Rule 7030 of the Federal Rules of Bankruptcy

Procedure, Plaintiffs UBS Securities LLC and UBS AG London Branch (together, “UBS”) in the

above-captioned adversary proceeding (the “Adversary Proceeding”) shall take the deposition of

Shawn Raver, in connection with Plaintiffs’ Motion for a Temporary Restraining Order and

Preliminary Injunction against Highland Capital Management, L.P. (“Highland” or the “Debtor”)

[Adv. Pro. Docket No. 4] (the “Motion”) and the subject matter set forth in Attachment A, on

May 6, 2021, beginning at 10:00 a.m. Central Time, or at such other day and time as counsel for

UBS, counsel for the Debtor, and Mr. Raver agree. The deposition will be taken remotely via an

online platform due to the coronavirus pandemic such that no one will need to be in the same

location as anyone else in order to participate in the deposition and by use of Interactive Realtime.

                           [Remainder of Page Intentionally Left Blank]
Case 21-03020-sgj Doc 47 Filed 04/30/21   Entered 04/30/21 10:00:37     Page 3 of 9




Dated: April 30, 2021                     Respectfully submitted,

                                          /s/ Martin Sosland

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                                          Counsel for UBS Securities LLC and UBS
                                          AG London Branch
 Case 21-03020-sgj Doc 47 Filed 04/30/21           Entered 04/30/21 10:00:37        Page 4 of 9




                                CERTIFICATE OF SERVICE

       I, Martin Sosland, certify that the foregoing Notice of Deposition was filed electronically

through the Court’s ECF system and served electronically on all parties enlisted to receive service

electronically.

       Dated: April 30, 2021.

                                                     /s/ Martin Sosland
                                                     Martin Sosland
Case 21-03020-sgj Doc 47 Filed 04/30/21         Entered 04/30/21 10:00:37         Page 5 of 9




                                     ATTACHMENT A

 1.     The formation or acquisition of Sentinel Reinsurance, Ltd., Sentinel Re Holdings, Ltd.,

        and their affiliates.

 2.     The organizational structure of Sentinel Reinsurance, Ltd., Sentinel Re Holdings, Ltd.,

        and their affiliates.

 3.     The identities of the directors and officers of Sentinel Reinsurance, Ltd., Sentinel Re

        Holdings, Ltd., and their affiliates.

 4.     The Legal Liability Insurance Policy dated as of August 1, 2017 between Sentinel

        Reinsurance, Ltd. as Insurer and Highland CDO Opportunity Master Fund, LP,

        Highland CDO Holding Company, and Highland Special Opportunities Holding

        Company as Insureds (the “Insurance Policy”), including without limitation (i) the

        purpose and terms of the Insurance Policy; (ii) any amendment thereto; (iii) board

        minutes or resolutions concerning the Insurance Policy; (iv) claims made on the

        Insurance Policy; (v) communications with the IRS concerning the Insurance Policy;

        and (vi) any similar agreements.

 5.     The Purchase Agreement dated as of August 7, 2017 between Sentinel Reinsurance,

        Ltd. as Purchaser and each of Highland CDO Opportunity Master Fund, L.P., Highland

        CDO Holding Company, and Highland Special Opportunities Holding Company as

        Sellers (the “Purchase Agreement”), including without limitation (i) the purpose and

        terms of the Purchase Agreement; (ii) any amendment thereto; (iii) the transfer of assets

        pursuant to the Purchase Agreement; (iv) board minutes or resolutions concerning the

        Purchase Agreement; (v) communications with the IRS regarding any assets transferred

        pursuant to the Purchase Agreement; and (vi) any similar agreements.
Case 21-03020-sgj Doc 47 Filed 04/30/21          Entered 04/30/21 10:00:37         Page 6 of 9




 6.     The Memorandum dated June 30, 2018 and entitled “Tax Consequences of Sentinel

        Acquisition of HFP/CDO Opportunity Assets” (the “Tax Memo”), including without

        limitation (i) the origin and purpose of the Tax Memo; (ii) any diligence conducted to

        support the Tax Memo and the $105,647,679 value of assets listed in the Tax Memo;

        (iii) any amendment thereto; (iv) board minutes or resolutions concerning the Tax

        Memo; and (v) any similar memoranda.

 7.     Assets transferred from Highland Capital Management, L.P., Highland CDO

        Opportunity Master Fund, L.P., Highland Special Opportunities Holding Company,

        and/or Highland Financial Partners, L.P. to Sentinel Reinsurance, Ltd. and/or Sentinel

        Re Holdings, Ltd., including without limitation (i) the assets transferred pursuant to the

        Insurance Policy or Purchase Agreement; (ii) the value of any such transferred assets;

        (iii) any subsequent transfer or dissipation of such assets; (iv) the request to redeem the

        value of any such assets from Highland Multi Strategy Credit Fund, L.P., (f/k/a

        Highland Credit Opportunities CDO, L.P.); and (v) the accounts used to transfer or

        receive any such assets.
                 Case 21-03020-sgj Doc 47 Filed 04/30/21                              Entered 04/30/21 10:00:37                    Page 7 of 9
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
    NORTHERN
  _________________________________________               TEXAS
                                            District of _________________________________________
       HIGHLAND CAPITAL MANAGEMENT, L.P.
In re __________________________________________
                                     Debtor
                                                                                               19-34054-sgj11
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                              11
                                                                                     Chapter ___________
UBS SECURITIES LLC AND UBS AG LONDON BRANCH,
_________________________________________
                                    Plaintiff
                         v.                                                                          21-03020-sgj
                                                                                     Adv. Proc. No. ________________
 HIGHLAND   CAPITAL  MANAGEMENT,    L.P.,
__________________________________________
                                   Defendant

                                        SUBPOENA TO TESTIFY AT A DEPOSITION
                                 IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To:    Shawn Raver
        ________________________________________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

   X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:

  PLACE                                                                                                        DATE AND TIME
              Remote, via Zoom or a similar online videoconferencing platform                                   April 27, 2021 at 9:00 am CT
                                                                                                                (or at a date and time mutually agreed upon)
  The deposition will be recorded by this method:
   Video and stenographic means
      Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

         April 15, 2021
  Date: _____________
                                    CLERK OF COURT

                                                                                     OR
                                    ________________________                                      /s/ Martin Sosland
                                                                                             ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
UBS Securities LLC and UBS AG London Branch
 ____________________________        , who issues or requests this subpoena, are:
 Martin Sosland, Butler Snow LLP, 2911 Turtle Creek Blvd., Suite 1400, Dallas, Texas 75219, Telephone: (469) 680-5502, Email: martin.sosland@butlersnow.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
               Case 21-03020-sgj Doc 47 Filed 04/30/21                              Entered 04/30/21 10:00:37                   Page 8 of 9
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                   ________________________________________________
                                                                                                                  Server’s signature

                                                                                   ________________________________________________
                                                                                                                Printed name and title


                                                                                   ________________________________________________
                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:
               Case 21-03020-sgj Doc 47 Filed 04/30/21                               Entered 04/30/21 10:00:37                     Page 9 of 9
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
